                                   Case 23-10585-JKS                 Doc 1       Filed 05/05/23            Page 1 of 16


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                JC USA, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Jenny Craig
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5770 Fleet St.
                                  Carlsbad, CA 92008
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.jennycraig.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                      Case 23-10585-JKS                Doc 1        Filed 05/05/23            Page 2 of 16
Debtor    JC USA, Inc.                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4461

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
                                        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                       Case 23-10585-JKS                      Doc 1      Filed 05/05/23             Page 3 of 16
Debtor    JC USA, Inc.                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Rider 1                                                  Relationship               Affiliate

                                                    District    Delaware                    When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 23-10585-JKS               Doc 1      Filed 05/05/23           Page 4 of 16
Debtor   JC USA, Inc.                                                                Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                                  Case 23-10585-JKS                   Doc 1        Filed 05/05/23             Page 5 of 16
Debtor    JC USA, Inc.                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      05/05/2023
                                                  MM / DD / YYYY


                             X                                                                            Lawrence Perkins
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X                                                                             Date 05/05/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David R. Hurst
                                 Printed name

                                 McDermott Will & Emery LLP
                                 Firm name

                                 1007 North Orange Street
                                 10th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-485-3900                  Email address      dhurst@mwe.com

                                 3743 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
               Case 23-10585-JKS          Doc 1    Filed 05/05/23      Page 6 of 16




                                             Schedule 1

                      Pending Bankruptcy Cases Filed by the Debtor and
                       Certain Affiliates and Subsidiaries of the Debtor

        On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”)
filed a voluntary petition in the United States Bankruptcy Court for the District of Delaware for
relief under chapter 7 of title 11 of the United States Code.

                      Debtor Name                                         EIN Number
                  Jenny C Holdings, LLC                                    XX-XXXXXXX
            Jenny C Intermediate Holdings, Inc.                            XX-XXXXXXX
                 Jenny C Acquisition, Inc.                                 XX-XXXXXXX
                    Craig Holdings, Inc.                                   XX-XXXXXXX
                    JC Franchising, Inc.                                   XX-XXXXXXX
                       JC USA, Inc.                                        XX-XXXXXXX
               Case 23-10585-JKS        Doc 1    Filed 05/05/23     Page 7 of 16




           JOINT WRITTEN CONSENT OF THE SPECIAL COMMITTEE OF
                          JENNY C HOLDINGS, LLC
                   JENNY C INTERMEDIATE HOLDINGS, INC.
                        JENNY C ACQUISITION, INC.
                           CRAIG HOLDINGS, INC.
                            JC FRANCHISING, INC.
                                 JC USA, INC.

                                          May 5, 2023

         The undersigned, being the sole member of the Special Committee (the “Special
Committee”) of (i) the Board of Managers of Jenny C Holdings, LLC, a Delaware limited
liability company (“JC Holdings”) and (ii) the Boards of Directors of Jenny C Intermediate
Holdings, Inc., a Delaware corporation (“JC Intermediate Holdings”), Jenny C Acquisition, Inc.,
a Delaware corporation (“JC Acquisition”), Craig Holdings, Inc., a Texas corporation (“Craig
Holdings”), JC Franchising, Inc., a Texas corporation (“JC Franchising”), and JC USA, Inc., a
Texas corporation (“JC USA” and collectively with JC Holdings, JC Intermediate Holdings, JC
Acquisition, Craig Holdings, and JC Franchising, the “Companies” and each, a “Company”),
pursuant to (a) as applicable, (1) the Delaware General Corporation Law, as amended, (2) the
Texas Business Organizations Code, as amended, and (3) the Delaware Limited Liability Act, as
amended; (b) the Bylaws of the Companies, as amended; (c) that certain Charter of the Special
Committee of the Board of Managers dated as of January 20, 2023 (the “Holdings Charter”); and
(d) those certain Charters of the Special Committee of the Board of Directors dated as of January
26, 2023 (the “Subsidiaries Charters” and collectively with the Holdings Charter, the
“Charters”), hereby consents to, approves, adopts, and ratifies the following resolutions and
actions as if duly adopted at a meeting of the Special Committee of the Companies held for such
purpose:

        WHEREAS, pursuant to the Charters, the Special Committee has the authority to, among
other things, negotiate, make, establish, consider, review, evaluate, approve, authorize, execute,
and consummate, if appropriate, certain strategic and/or financial alternatives available to the
Companies and their respective businesses, assets and properties, including, without limitation, a
sale, merger, consolidation, restructuring, reorganization, recapitalization, liquidation or other
transaction or related financing or refinancing involving the Companies, whether by filing a
voluntary petition for relief under the United States Bankruptcy Code or otherwise; and

       WHEREAS, the Special Committee has considered the financial and operational
conditions of the Companies’ business, engaged with the Companies’ lenders, creditors, and
other parties-in-interest, and reviewed the historical performance of the Companies, the market
for the Companies’ products and services and the current and long-term liabilities of the
Companies.
               Case 23-10585-JKS          Doc 1       Filed 05/05/23    Page 8 of 16




       NOW, THEREFORE, BE IT:

Commencement and Prosecution of Bankruptcy Cases

        RESOLVED, that, in the judgment of the Special Committee after consideration of the
alternatives presented to it and the advice of the Companies’ professionals and advisors, it is in
the best interests of the Companies, their lenders, creditors, shareholders, members, and other
interested parties, that each Company shall be, and hereby is, authorized to file, or cause to be
filed, a voluntary petition for relief (each, a “Chapter 7 Case” and collectively, the “Chapter 7
Cases”) under the provisions of chapter 7 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”); and it is further

        RESOLVED, that Lawrence Perkins (the “Authorized Person”) be, and hereby is,
authorized and empowered on behalf of, and in the name of, each Company (i) to execute and
verify the voluntary chapter 7 petitions as well as any other ancillary documents and to cause
such petitions to be filed with the Bankruptcy Court, and (ii) to perform any and all such acts as
are reasonable, advisable, expedient, convenient, proper or necessary to effect the filing and
administration of the Chapter 7 Cases; and it is further

        RESOLVED, that the Authorized Person be, and hereby is, authorized, directed, and
empowered for, in the name of, and on behalf of the Companies, to execute, acknowledge,
deliver, verify, and file any and all pleadings, petitions, schedules, statements of affairs, lists and
other papers and to take any and all related actions that the Authorized Person may deem
necessary or proper in connection with the filing of the Petition and commencement and
prosecution of the Chapter 7 Cases, including attending the meeting of creditors pursuant to
Bankruptcy Code section 341 on behalf of the Companies; and it is further

         RESOLVED, that the Authorized Person be, and hereby is, authorized, directed, and
empowered from time to time in the name and on behalf of the Companies, to perform the
obligations of the Company under the Bankruptcy Code, with all such actions to be performed in
such manner, and all such certificates, instruments, guaranties, notices, and documents to be
executed and delivered in such form, as the Authorized Person performing or executing the same
shall approve, and the performance or execution thereof by the Authorized Person shall be
conclusive evidence of the approval thereof by the Authorized Person and by the Companies;
and it is further

Retention of Professionals

       RESOLVED, that the law firm of McDermott Will & Emery LLP (“McDermott”) be,
and hereby is, authorized, directed, and empowered to represent the Companies as bankruptcy
counsel to represent and assist the Companies in carrying out their duties under the Bankruptcy
Code, and to take any and all actions to advance the Companies’ rights, including the preparation
of pleadings and filings in its Bankruptcy Case; and in connection therewith, the Authorized
Person be, and hereby is, authorized, directed, and empowered, on behalf of and in the name of



                                                  2
               Case 23-10585-JKS          Doc 1       Filed 05/05/23    Page 9 of 16




the Companies, to execute appropriate retention agreements and pay appropriate retainers prior
to and immediately upon the filing of the Bankruptcy Case; and it is further

General Resolutions

        RESOLVED, that the execution and delivery by the Authorized Person on behalf of the
Companies of such documents as may be required or as such Authorized Person may determine
to be necessary, appropriate, or desirable to carry out the intent and purpose of the foregoing
resolutions or to obtain the relief sought thereby, including, without limitation, the execution and
delivery of any consents, resolutions, petitions, schedules, lists, declarations, affidavits, and other
papers or documents, with all such actions to be taken in such manner, and all such petitions,
schedules, lists, declarations, affidavits, and other papers or documents to be executed and
delivered in such form as the Authorized Person shall approve are hereby authorized, the taking
or execution thereof by the Authorized Person being conclusive evidence of the approval thereof
by the Authorized Person and by the Companies; and it is further

         RESOLVED, that all actions heretofore taken, and all agreements, instruments, reports
and documents executed, delivered or filed through the date hereof, by any officer of the
Companies in, for and on behalf of the Companies, in connection with the matters described in or
contemplated by the foregoing resolutions, are hereby approved, adopted, ratified, and confirmed
in all respects as the acts and deeds of the Companies as of the date such action or actions were
taken; and it is further

       RESOLVED, that facsimile, .pdf copies, or other electronic forms of signatures to this
consent shall be deemed to be originals and may be relied on to the same extent as the originals.



                                     [Signature Page Follows]




                                                  3
            Case 23-10585-JKS    Doc 1   Filed 05/05/23   Page 10 of 16




       IN WITNESS WHEREOF, the undersigned has executed this Written Consent of the
Special Committee as of the date first above written.

                                             SPECIAL COMMITTEE

                                             ________________________________
                                             Name: Derek Pitts
                                             Title: Sole Member




                                         4
              Case 23-10585-JKS   Doc 1   Filed 05/05/23   Page 11 of 16




                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

                                              )
In re:                                        )
                                              )   Chapter 7
JENNY C HOLDINGS, LLC,                        )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                                              )
In re:                                        )
                                              )   Chapter 7
JENNY C INTERMEDIATE HOLDINGS, INC.,          )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                                              )
In re:                                        )
                                              )   Chapter 7
JENNY C ACQUISITION, INC.,                    )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                                              )
In re:                                        )
                                              )   Chapter 7
CRAIG HOLDINGS, INC.,                         )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                                              )
In re:                                        )
                                              )   Chapter 7
JC FRANCHISING, INC.,                         )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                 Case 23-10585-JKS       Doc 1     Filed 05/05/23    Page 12 of 16




                                                       )
 In re:                                                )
                                                       )    Chapter 7
 JC USA, INC.                                          )
                                                       )    Case No. 23-[         ](    )
           Debtor.                                     )
                                                       )
                                                       )

                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), the above-captioned debtors (each, a “Debtor” and collectively, the

“Debtors”), respectfully represent as follows with respect to the Debtors’ direct and indirect

corporate ownership:

          1.     Non-Debtor HIG Jenny C, LP owns approximately 93.4% of the membership

interests in Jenny C Holdings, LLC, including outstanding management options, and 98.8% of the

membership interests in Jenny C Holdings, LLC, excluding management options.

          2.     Jenny C Holdings, LLC owns 100% of the equity interests in Jenny C Intermediate

Holdings, Inc.

          3.     Jenny C Intermediate Holdings, Inc. owns 100% of the equity interests in Jenny C

Acquisition, Inc.

          4.     Jenny C Acquisition, Inc. owns 100% of the equity interests in Craig Holdings, Inc.

          5.     Craig Holdings, Inc. owns 100% of the equity interests in JC USA, Inc. and JC

Franchising, Inc.




                                                  2
                                 Case 23-10585-JKS                Doc 1           Filed 05/05/23              Page 13 of 16

 Fill in this information to identify the case and this filing:


               JC USA, Inc.
 Debtor Name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                                 Consolidated Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                      05/05/2023
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Lawrence Perkins
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
              Case 23-10585-JKS   Doc 1   Filed 05/05/23   Page 14 of 16




                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

                                              )
In re:                                        )
                                              )   Chapter 7
JENNY C HOLDINGS, LLC,                        )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                                              )
In re:                                        )
                                              )   Chapter 7
JENNY C INTERMEDIATE HOLDINGS, INC.,          )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                                              )
In re:                                        )
                                              )   Chapter 7
JENNY C ACQUISITION, INC.,                    )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                                              )
In re:                                        )
                                              )   Chapter 7
CRAIG HOLDINGS, INC.,                         )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                                              )
In re:                                        )
                                              )   Chapter 7
JC FRANCHISING, INC.,                         )
                                              )   Case No. 23-[      ](    )
         Debtor.                              )
                                              )
                                              )
                    Case 23-10585-JKS                   Doc 1         Filed 05/05/23             Page 15 of 16




                                                                             )
 In re:                                                                      )
                                                                             )     Chapter 7
 JC USA, INC.                                                                )
                                                                             )     Case No. 23-[                    ](     )
           Debtor.                                                           )
                                                                             )
                                                                             )

            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

1.        Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that my firm,
          McDermott Will & Emery LLP (“McDermott”), is counsel for the above-captioned debtors
          (collectively, the “Debtors”) and that compensation paid to McDermott within one year
          before the filing of the petitions in bankruptcy, or agreed to be paid to McDermott, for
          services rendered or to be rendered on behalf of the Debtors in contemplation of or in
          connection with the bankruptcy cases is as follows:

          For legal services, McDermott had agreed to accept . . . . . . . . . . . . . . . . . . . . . . . $927,705.50

          Prior to the filing of this statement, McDermott has received . . . . . . . . . . . . . . $927,705.50

          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00

2.        The source of the compensation paid to McDermott was Debtor JC USA, Inc.

3.        McDermott has not agreed to share the above-disclosed compensation with any other
          person, unless they are a partner, counsel, or associate of McDermott.

4.        In return for the above-disclosed fee, McDermott has agreed to pay the filing fees required
          to commence these bankruptcy cases and has further agreed to render certain legal services
          relating to these bankruptcy cases, including:

          a.        Analyzing the Debtors’ financial situation and rendering advice to the Debtors in
                    determining whether to file bankruptcy petitions;

          b.        Preparing and filing voluntary petitions in bankruptcy and certain other documents
                    that may be required; and

          c.        Representing the Debtors at the meeting of creditors and any adjourned hearings
                    thereof.

5.        By agreement with the Debtors, the above-disclosed fee does not include the representation
          of the Debtors in adversary proceedings and other contested bankruptcy matters, nor does
          it include any future non-bankruptcy representation.




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              Case 23-10585-JKS        Doc 1     Filed 05/05/23    Page 16 of 16




                                      CERTIFICATION

       I hereby certify that the foregoing is a complete statement of any agreement or arrangement
for payment to McDermott for representation of the Debtors in these bankruptcy proceedings.

Dated: Wilmington, Delaware                  MCDERMOTT WILL & EMERY LLP
       May 5, 2023
                                             /s/ David R. Hurst
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